           Case
            Case3:15-cr-00072-RCJ-VPC
                  3:15-cr-00072-RCJ-VPC Document
                                        Document92  Filed03/02/16
                                                 88 Filed 04/05/16 Page
                                                                    Page11
                                                                         ofof
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 6                                 UNITED STATES DISTRICT COURT

 7                                        DISTRICT OF NEVADA

 8 UNITED STATES OF AMERICA,                          )
                                                      )
 9                         Plaintiff,                 )
                                                      )
10          v.                                        ) 3:15-CR-072-RCJ-(VPC)
                                                      )
11 OLIVER NOLASCO-CRUZ,                               )
   a/k/a Miguel Partida-Cruz,                         )
12                                                    )
                         Defendant.                   )
13

14                              PRELIMINARY ORDER OF FORFEITURE
15          This Court finds that defendant OLIVER NOLASCO-CRUZ, a/k/a Miguel Partida-Cruz, pled

16 guilty to Count One of a One-Count Superseding Information charging him with Conspiracy to

17 Possess with Intent to Distribute at least 100 Grams of a Mixture and Substance Containing a

18 Detectable Amount of Heroin in violation of Title 21, United States Code, Sections 841(a)(1) and 846.

19 Change of Plea, ECF No. 76; Superseding Information, ECF No. 78; Plea Agreement, ECF No. 79.

20          This Court finds defendant OLIVER NOLASCO-CRUZ, a/k/a Miguel Partida-Cruz, agreed to

21 the forfeiture of the property set forth in the Plea Agreement and the Forfeiture Allegation of the

22 Superseding Information. Change of Plea, ECF No. 76; Superseding Information, ECF No. 78; Plea

23 Agreement, ECF No. 79.

24          This Court finds, pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2), the United States of America

25 has shown the requisite nexus between property set forth in the Plea Agreement and the Forfeiture

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          Case
           Case3:15-cr-00072-RCJ-VPC
                 3:15-cr-00072-RCJ-VPC Document
                                       Document92  Filed03/02/16
                                                88 Filed 04/05/16 Page
                                                                   Page22
                                                                        ofof
                                                                           33




 1 Allegation of the Superseding Information and the offense to which defendant OLIVER NOLASCO-

 2 CRUZ, a/k/a Miguel Partida-Cruz, pled guilty.

 3          The following asset is subject to forfeiture pursuant to Title 21, United States Code, Section

 4 853(a)(1), (a)(2), and (p):

 5              United States currency recovered in the custody and control of the defendant at the time of

 6              his arrest on or about September 14, 2015, and from the premises located at 750

 7              Arrowcreek Parkway #10204, Reno, Nevada, on or about September 14, 2015, totaling

 8              approximately $14,683

 9 (all of which constitutes property).

10          This Court finds the United States of America is now entitled to, and should, reduce the

11 aforementioned property to the possession of the United States of America.

12          NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the

13 United States of America should seize the aforementioned property.

14          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED all right, title, and interest of

15 OLIVER NOLASCO-CRUZ, a/k/a Miguel Partida-Cruz, in the aforementioned property is forfeited

16 and is vested in the United States of America and shall be safely held by the United States of America

17 until further order of the Court.

18          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the United States of America

19 shall publish for at least thirty (30) consecutive days on the official internet government forfeiture

20 website, www.forfeiture.gov, notice of this Order, which shall describe the forfeited property, state the

21 time under the applicable statute when a petition contesting the forfeiture must be filed, and state the

22 name and contact information for the government attorney to be served with the petition, pursuant to

23 Fed. R. Crim. P. 32.2(b)(6) and Title 21, United States Code, Section 853(n)(2).

24          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that any individual or entity

25 who claims an interest in the aforementioned property must file a petition for a hearing to adjudicate

26 the validity of the petitioner’s alleged interest in the property, which petition shall be signed by the

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          Case
           Case3:15-cr-00072-RCJ-VPC
                 3:15-cr-00072-RCJ-VPC Document
                                       Document92  Filed03/02/16
                                                88 Filed 04/05/16 Page
                                                                   Page33
                                                                        ofof
                                                                           33




 1 petitioner under penalty of perjury pursuant to Title 21, United States Code, Section 853(n)(3) and

 2 Title 28, United States Code, Section 1746, and shall set forth the nature and extent of the petitioner’s

 3 right, title, or interest in the forfeited property and any additional facts supporting the petitioner’s

 4 petition and the relief sought.

 5          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a petition, if any, must be filed

 6 with the Clerk of the Court, Bruce R. Thompson U.S. Courthouse and Federal Building, 400 South

 7 Virginia Street, 3rd Floor, Reno, NV 89501, no later than thirty (30) days after the notice is sent or, if

 8 direct notice was not sent, no later than sixty (60) days after the first day of the publication on the

 9 official internet government forfeiture site, www.forfeiture.gov.

10          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a copy of the petition, if any,

11 shall be served upon the Asset Forfeiture Attorney of the United States Attorney’s Office at the

12 following address at the time of filing:

13                  Greg Addington
                    Assistant United States Attorney
14                  100 West Liberty Street, Suite 600
                    Reno, NV 89501
15

16          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the notice described herein

17 need not be published in the event a Declaration of Forfeiture is issued by the appropriate agency

18 following publication of notice of seizure and intent to administratively forfeit the above-described

19 property.

20          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Clerk send copies of

21 this Order to all counsel of record.

22                     5th day
            DATED this ___ day of
                               of April, 2016.
                                  ____________, 2016.

23

24

25
                                                    UNITED STATES DISTRICT JUDGE
26

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